






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-462-CR




GLENDA TAYLOR UMPHRES,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE COUNTY COURT AT LAW NO. 1 OF WILLIAMSON COUNTY, 


NO. 21,145, HONORABLE TIMOTHY G. MARESH, JUDGE


                       





PER CURIAM

	After appellant pleaded no contest, the trial court found her guilty of driving while
intoxicated, first offense, and assessed punishment at incarceration for six months and a $1000
fine.  Imposition of sentence was suspended and appellant was placed on probation.

	Appellant's attorney, although retained, filed a brief in which he concludes that the
appeal is frivolous and without merit.  The brief meets the requirements of Anders v. California,
386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988);
Gainous v. State, 436  S.W.2d 137 (Tex. Crim. App. 1969); Jackson v. State, 485  S.W.2d 553
(Tex. Crim. App. 1972); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974); High v.
State, 573  S.W.2d 807 (Tex. Crim. App. 1978).  A copy of counsel's brief was delivered to
appellant, and appellant was advised of his right to examine the appellate record and to file a pro
se brief.  No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal
is frivolous and without merit.  Further, we find nothing in the record that might arguably support
the appeal.

	The judgment of conviction is affirmed.


[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Affirmed

Filed:&nbsp; February 12, 1992

[Do Not Publish]


